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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

 LAUREN YOUSSEF,

       Plaintiff,

 v.                                     CASE NO.:

 INSULA APARTMENT
 MANAGEMENT, LLC,

       Defendant.

 _________________/

             COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff, LAUREN YOUSSEF, by and through undersigned counsel,

 brings     this   action   against   Defendant,   INSULA    APARTMENT

 MANAGEMENT, LLC, and in support of her claims states as follows:

                       JURISDICTION AND VENUE

       1.      This is an action for violations of the Family and Medical

 Leave Act of 1993, as amended, 29 U.S.C. § 2601 et seq. (“FMLA”), and the

 Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1001 et

 seq.; and particularly 29 U.S.C. § 1140.

       2.      This Court has subject matter jurisdiction under 28 U.S.C. §

 1331 and 29 U.S.C. § 2601 et seq.
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       3.    Venue is proper in the Middle District of Florida, because all of

 the events giving rise to these claims occurred in Sarasota County, Florida.

                                  PARTIES

       4.    Plaintiff is a resident of Sarasota County, Florida, and she

 worked in Sarasota County for Defendant.

       5.    Defendant operates an apartment management company in

 Sarasota County, Florida along with other related entities including Insula

 Equity, Banyan Trail Apartments, Beneva Place Apartments, Gables at

 Honore Apartments, Summer Cove Apartments. In addition, Defendant

 was a joint employer with a Professional Employer Organization that had

 in excess of 50 employees within a 75 mile radius of Plaintiff’s work

 location during her employment with Defendant.

                       GENERAL ALLEGATIONS

       6.    This is an action to recover damages suffered by Plaintiff while

 employed by Defendant, when Defendant interfered with Plaintiff’s rights

 under the FMLA and retaliated against Plaintiff for exercising these same

 rights.

       7.    At the time of these events, Plaintiff was an employee of

 Defendant, and she worked at least 1250 hours in the 12 months preceding

 her request for leave under the FMLA.




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       8.    Thus, Plaintiff is an “eligible employee” within the meaning of

 the FMLA, 29 U.S.C. § 2611(2).

       9.    Defendant is an “employer” within the meaning of the FMLA,

 29 U.S.C. § 2611(4).

       10.   Plaintiff is, and at all times relevant to this action is, a

 “participant” in the defendant’s employee benefit plans as defined by 29

 U.S.C. § 1002(7).

       11.   The defendant is an employer engaged in an industry or

 activity affecting commerce within the meaning of 29 U.S.C. § 1002(5),

 (12). Defendant is both the “administrator,” 29 U.S.C. § 1002(16)(A), and

 the “plan sponsor,” 29 U.S.C. § 1002(16)(B) of the Defendant’s Employee

 Benefits Plan.

       12.   The Defendant has maintained and does maintain various

 employment benefit plans, including a comprehensive health insurance

 plan for all permanent full-time exempt employees, disability insurance,

 life insurance with benefits continuing for employees who retire under

 Defendant’s Retirement Plan or who become permanently and totally

 disabled, and a Retirement Plan.

       13.   Defendant’s Plan described herein, is an employee benefit plan

 within the meaning of 29 U.S.C. § 1002(3) and 29 U.S.C. Section 1140.




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       14.     Plaintiff has satisfied all conditions precedent, or they have

 been waived.

       15.     Plaintiff has retained the undersigned attorneys and agreed to

 pay them a fee.

       16.     Plaintiff requests a jury trial for all issues so triable.

                                      FACTS

       17.     Plaintiff began working for Defendant in March 2019 as a

 Property Accountant, and she worked in this capacity until her termination

 on or about March 30, 2021

       18.     At all times relevant, Plaintiff was a participant in Defendant’s

 Group Insurance Plans.

       19.     In or around January 2020, Plaintiff suffered from a medical

 condition that qualified as a serious health condition within the meaning of

 the FMLA.

       20.     To this day, Plaintiff’s illness requires ongoing and expensive

 medical treatment.

       21.     On or about March 25, 2021, Plaintiff submitted proper

 medical documentation to Defendant in support of her FMLA leave request

 to herself.

       22.     On or about April 1, 2021, Defendant terminated Plaintiff’s

 employment and took her off of Defendant’s Group Insurance Plan.


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       23.     Defendant retaliated against Plaintiff because she exercised

 her rights under Defendant’s employee benefit, retirement, and/or

 insurance plans and the FMLA by terminating her employment.

       24.     Defendant also interfered with Plaintiff’s rights under the

 FMLA.

                   COUNT I – FMLA INTERFERENCE

       25.     Plaintiff realleges and readopts the allegations of paragraphs 1

 through 24 of this Complaint, as fully set forth herein.

       26.     Plaintiff required time off from work to care for herself,

 because she suffered from a serious health condition within the meaning of

 the FMLA, requiring leave protected under the FMLA.

       27.     By terminating her employment for requesting FMLA leave

 and not permitting her to take said leave, Defendant interfered with

 Plaintiff’s FMLA rights, in violation of 29 U.S.C. §§ 2614(a)(1)(A) and

 2615(a)(2).

       28.     Defendant’s actions were willful and done with malice.

       29.     Plaintiff was injured due to Defendant’s violations of the

 FMLA, for which Plaintiff is entitled to legal and injunctive relief.

       WHEREFORE, Plaintiff demands:




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             (a)   That this Court enter a judgment that Defendant

                   interfered with Plaintiff’s rights in violation of the

                   FMLA;

             (b)   An injunction restraining continued violation of the

                   FMLA by Defendant;

             (c)   Compensation for lost wages, benefits, and other

                   remuneration;

             (d)   Reinstatement of Plaintiff to a position comparable to

                   Plaintiff’s prior position with back pay plus interest,

                   pension rights and all benefits, or, in the alternative, the

                   entry    of   a       judgment    under    29      U.S.C.   §

                   2617(a)(1)(A)(i)(II), against Defendant and in favor of

                   Plaintiff, for the monetary losses that Plaintiff suffered

                   as a direct result of Defendant’s violations of the FMLA;

             (e)   Front pay;

             (f)   Liquidated Damages;

             (g)   Prejudgment       interest   on   all   monetary     recovery

                   obtained;

             (h)   All costs and attorney’s fees incurred in prosecuting

                   these claims; and




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              (i)    For such further relief as this Court deems just and

                     equitable.

                    COUNT II – FMLA RETALIATION

       30.    Plaintiff realleges and readopts the allegations set forth in

 Paragraphs 1 through 24 of this Complaint, as fully set forth herein.

       31.    Plaintiff required time off from work to care for herself,

 because she suffered from a serious health condition within the meaning of

 the FMLA, requiring leave protected under the FMLA.

       32.    Plaintiff engaged in protected activity under the FMLA by

 exercising and/or attempting to exercise her FMLA rights.

       33.    Defendant retaliated against Plaintiff for engaging in protected

 activity under the FMLA by terminating her employment.

       34.    Defendant’s actions were willful and done with malice.

       35.    Plaintiff was injured by Defendant’s violations of the FMLA,

 for which Plaintiff is entitled to legal and injunctive relief.

       WHEREFORE, Plaintiff demands:

              (a)    That this Court enter a judgment that Defendant

                     retaliated against Plaintiff in violation of the FMLA;

              (b)    An injunction restraining continued violation of the

                     FMLA by Defendant ;




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             (c)    Compensation for lost wages, benefits, and other

                    remuneration;

             (d)    Reinstatement of Plaintiff to a position comparable to

                    Plaintiff’s prior position with back pay plus interest,

                    pension rights and all benefits or, in the alternative,

                    entry   of    a       judgment    under    29      U.S.C.   §

                    2617(a)(1)(A)(i)(II), against Defendant and in favor of

                    Plaintiff, for the monetary losses Plaintiff suffered as a

                    direct result of Defendant’s violations of the FMLA;

             (e)    Front pay;

             (f)    Liquidated Damages;

             (g)    Prejudgment       interest   on   all   monetary     recovery

                    obtained;

             (h)    All costs and attorney’s fees incurred in prosecuting

                    these claims; and

             (i)    For such further relief as this Court deems just and

                    equitable.

                     COUNT III – ERISA RETALIATION

       36.   Plaintiff realleges and readopts the allegations set forth in

 Paragraphs 1 through 24 of this Complaint, as though fully set forth herein.




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       37.   Defendant purposefully interfered with Plaintiff’s right to

 continued health benefits under Defendant’s employee benefit plan and

 purposefully interfered with Plaintiff’s expectancy interest in health

 insurance benefits under Defendant’s insurance and retirement plans by

 terminating Plaintiff’s employment because she exercised her rights

 pursuant to ERISA.

       38.   Defendant’s interference caused Plaintiff to lose substantial

 health insurance benefits, life insurance benefits, retirement benefits,

 wages, and other fringe benefits of employment.

       WHEREFORE, Plaintiff demands:

             (a)      Full legal and equitable relief under ERISA, including

                      back pay, reinstatement to plaintiff’s position as an

                      employee of defendant, restitution of plaintiff’s lost

                      employee benefits, restoration of plaintiff’s seniority,

                      prejudgment interest, etc.;

             (b)      Compensatory damages;

             (c)      Attorney’s fees and costs; and

             (d)      All other relief that the law and equity allow.



                          JURY TRIAL DEMAND

       Plaintiff demands trial by jury as to all issues so triable.


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        Dated this 17th day of June, 2021.

                                        Respectfully submitted,



                                        _______________________
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